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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


HENRY’S LOUISIANA GRILL, INC.
and HENRY’S UPTOWN LLC,
                                                  Civil Action File No.
       Plaintiffs,
                                                  1:20-cv-02939-TWT
v.
ALLIED INSURANCE COMPANY
OF AMERICA,

       Defendant.


                              NOTICE OF APPEAL

      Plaintiffs, HENRY’S LOUISIANA GRILL, INC. and HENRY’S UPTOWN

LLC (collectively, “Plaintiffs” or “Henry’s”), pursuant to Rule 3 of the Federal Rules

of Appellate Procedure, hereby gives notice that Plaintiffs appeal to the United

States Court of Appeals for the Eleventh Circuit from the Opinion and Order dated

October 6, 2020 (Doc. 36) and the Judgment entered on October (Doc. 37, which

granted Defendant’s Motion to Dismiss (Doc. 4).

      The United States Court of Appeals for the Eleventh Circuit has jurisdiction

of this appeal pursuant to 28 U.S.C. §1291, as the Court’s October 6, 2020 Opinion

and Order (Doc. 36) effectuated a final judgment in favor of Defendant Allied

Insurance Company of America and had the effect of terminating the action. The



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District Court entered Judgment thereon on October 6, 2020 (Doc. 37). This Notice

is filed within thirty (30) days of the entry of the subject October 6, 2020 Order and

Judgment. All orders and proceedings in the district court are therefore properly

before this Court for review. Barfield v. Brierton, 883 F.2d 923, 931 (11th Cir.

1989).

       Respectfully submitted this 4th day of November, 2020.

                                          /s/ James J. Leonard
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                          CERTIFICATE OF SERVICE


       I hereby certify that on November 4, 2020, I electronically filed the foregoing

PLAINTIFFS’ NOTICE OF APPEAL with the Clerk of the Court using the

CM/ECF system which will automatically send email notification of such filing to

the following attorneys of record:

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DMS 18435964.1
